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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

  In re:                                                Chapter 11

  CUREPOINT, LLC,                                       Case No. 22-56501- PMB

                           Debtor.




                RESPONSE OF CHAPTER 11 TRUSTEE IN SUPPORT OF SALE OF
                     SUBSTANTIALLY ALL OF THE DEBTOR’S ASSETS

           David A. Wender, solely in his capacity as the chapter 11 trustee (the “Trustee”) for the

 above-captioned debtor (the “Debtor”) in the above-styled case (the “Case”), by and through

 counsel, and hereby files this response (the “Response”) in support of the Trustee’s motion

 requesting, among other things, the Court’s approval of a sale of substantially all of the Debtor’s

 assets pursuant to section 363 of the Bankruptcy Code [Doc. No. 124] (the “Sale Motion”). In

 support of the Sale Motion and this Response, the Trustee attaches: (i) the Declaration of David

 A. Wender in Support of Chapter 11 Trustee’s Sale Motion (the “Wender Declaration”), attached

 hereto as Exhibit 1 and incorporated herein by reference; and (ii) the Declaration of SOLIC

 Capital Advisors, LLC in Support of Chapter 11 Trustee’s Sale Motion (the “Hagood

 Declaration”), attached hereto as Exhibit 2 and incorporated herein by reference. In further

 support, the Trustee respectfully states as follows:

                                     PERTINENT BACKGROUND

 A.        General Background

           1.      On August 19, 2022 (the “Petition Date”), the Debtor filed a voluntary petition for
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 relief under Chapter 11 of the Bankruptcy Code.

        2.      On September 21, 2022, Mark W. McCord, M.D. and the United States Trustee

 filed motions to appoint a chapter 11 trustee in the Case. [Doc. Nos. 52, 54]. Shortly thereafter,

 on October 3, 2022, AMOA Finance, LLC filed its motion to appoint a chapter 11 trustee in the

 Case. [Doc. No. 68]. On October 13, 2022, the Court entered an order granting Mark W. McCord,

 M.D.’s and AMOA Finance, LLC’s motions and directing the United States Trustee to appoint a

 chapter 11 trustee in the Case. [Doc. No. 96].

        3.      On October 17, 2022, the United States Trustee filed the Notice of Appointment of

 Chapter 11 Trustee and Setting of Bond, which, among other things, appointed the Trustee as

 chapter 11 trustee for the Debtor’s estate. [Doc. No. 104]. On October 18, 2022, the Trustee filed

 his Acceptance of Appointment as Chapter 11 Trustee. [Doc. No. 106]. The Court approved the

 appointment of the Trustee on October 19, 2022. [Doc. No. 108].

        4.      On October 27, 2022, the Court entered its Order Approving Chapter 11 Trustee’s

 Application to Retain Eversheds Sutherland (US) LLP as Counsel, Subject to Objection [Doc. No.

 119] (the “ES Order”).

        5.      On November 7, 2022, the Trustee filed, on an emergency basis, the Sale Motion

 seeking, among other things, the authority to conduct a sale of substantially all of the Debtor’s

 assets (the “Sale”), approval of procedures in connection with the Sale, and for the Court’s final

 approval of the resulting Sale.

        6.      On November 14, 2022, the Trustee filed the Application of Chapter 11 Trustee to

 Retain Investment Banker Effective as of November 1, 2022 [Doc. No. 130] (the “SOLIC

 Application”), seeking authority to retain SOLIC as investment banker to assist the Trustee in



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 connection with the marketing and conducting the Sale.

        7.      On November 18, 2022, the Court entered the order granting the Sale Motion [see

 Doc. No. 145] (the “Sale Procedures Order”), which, among other things, granted the Trustee the

 authority to conduct the Sale, approved procedures to effectuate the same, and scheduled a hearing

 to occur on December 15, 2022 at which time the Court would consider the approval of the Sale.

        8.      On November 18, 2022, the Court entered the order approving the SOLIC

 Application, subject to objection [see Doc. No. 146] (the “SOLIC Order”). The SOLIC Order

 approved, among other things, the SOLIC Engagement Letter and SOLIC’s right to receive certain

 payments thereunder, including the Success Fee upon a successful sale closing.

        9.      On December 13, 2022, the Court entered the joint amended SOLIC Order [see

 Doc. No. 191], incorporating the Trustee and United States Trustee’s agreed upon revisions to the

 indemnity agreement between the Trustee and SOLIC, but otherwise leaving the SOLIC Order in

 full force and effect. No objections were filed to the SOLIC Order within the time provided

 therein. As a result, SOLIC’s retention was approved without objection effective as of November

 1, 2022.

 B.     The Sale and Marketing Process

        10.     Upon entry of the Sale Procedures Order and as directed therein, the Trustee

 provided prompt and sufficient notice to all parties-in-interest as instructed by the Court of all Sale

 related processes, including the Sale Procedures Order, the Bidding Procedures, the Notice of

 Auction, and Notice of Assumption and Assignment of Executory Contracts and Unexpired

 Leases. [See Doc. Nos. 152, 174, 178, 179, and 193].

        11.     In conjunction therewith, the Trustee and SOLIC developed and commenced a



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 robust and extensive marketing and sale process designed to identify potential purchasers and/or

 strategic partners and investors that could enable the Trustee to maximize the value of the Debtor’s

 assets for the benefit of all stakeholders. The marketing process was designed and implemented

 to obtain the highest and best price for the Debtor’s assets.

        12.     First, SOLIC and the Trustee developed marketing materials describing the Debtor,

 its business operations, assets and other pertinent information that may interest a potential

 purchaser.   Second, SOLIC created and supplemented a dataroom containing not only the

 marketing materials but also operational and financial due diligence materials and other pertinent

 materials, such as the Sale Procedures Order and Bidding Procedures (all documents contained in

 the dataroom are collectively, the “Due Diligence Materials”).

        13.     Commencing on or around November 1, 2022 and continuing through December

 9, 2022, SOLIC solicited thirty-five (35) potential purchasers, which included various hospital

 systems, private medical care providers, and investment bankers/private equity groups. Of the

 thirty-five (35) parties solicited, nine (9) of them expressed preliminary interest in acquiring the

 Debtor and executed confidentiality agreements for the purpose of gaining access to the dataroom

 and conducting their respective due diligence. Six (6) of these nine (9) parties requested and

 participated in separate due diligence calls with SOLIC.

 C.     CancerCare and the Asset Purchase Agreement

        14.     As a result of the marketing efforts, SOLIC received offers from 2406 CancerCare,

 LLC (“CancerCare,” or, alternatively, the “Purchaser”) to purchase substantially all of the Debtor’s

 assets. Between December 2, 2022, and December 11, 2022, the Trustee, with the assistance of

 SOLIC, engaged in multiple good faith discussions with CancerCare to improve the offer.



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         15.     Based on the marketing process and discussions had with potential purchasers and

 the negotiations with CancerCare, the Trustee and SOLIC ultimately concluded that the offer from

 CancerCare was the highest and best offer and provided the best opportunity to maximize the value

 of the Debtor’s assets for the benefit of its stakeholders. No other person or entity offered to

 purchase the Debtor’s assets for an amount that would provide a greater value to the Debtor than

 what was offered by CancerCare.

         16.     Consequently, the Trustee and CancerCare engaged in further negotiations

 regarding the ultimate terms of a purchase and sale agreement, and, on December 9, 2022,

 CancerCare and the Trustee, on the Debtor’s behalf, entered into an asset purchase agreement (the

 “Asset Purchase Agreement”) 1. A true and correct copy of the Asset Purchase Agreement, is

 attached hereto as Exhibit 3 and incorporated herein by reference.

         17.     The Asset Purchase Agreement provides that CancerCare will purchase

 substantially all of the Debtor’s assets (the “Sale Assets”), as set forth more fully in the Asset

 Purchase Agreement, to continue the Debtor’s ongoing business operations for a purchase price of

 $5,425,000. In addition, under the Asset Purchase Agreement, CancerCare is assuming liabilities

 totaling approximately $119,329.66 as a result of the assumption and assignment of certain

 executory contracts and unexpired leases. CancerCare is also leaving behind certain cash held by

 the Debtor that the Trustee estimates will total approximately $300,000.

 D.      Objections to the Sale

         18.     Per the Sale Procedures Order, the applicable deadlines to file objections were



 1Terms used but not defined herein shall have the meaning ascribed in the Asset Purchase Agreement, the Sale
 Procedures Order, and Bidding Procedures, as applicable.


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 (i) December 8, 2022, which was the deadline to object to assumption and assignment of executory

 contracts and unexpired leases and proposed cure amounts, and (ii) December 10, 2022, which

 was the deadline to object to the Sale generally.

        19.     Prior to the objection deadline, the Trustee received an informal request from

 counsel to Arvest Bank seeking clarification related to certain copiers subject to Equipment

 Finance Agreements with Arvest Bank (the “Arvest Equipment”). In view of this informal request,

 the Trustee and the Purchaser revised the proposed Asset Purchase Agreement and the proposed

 Sale Order (defined below) to confirm that the Arvest Equipment was not being sold.

        20.     AMOA Finance, LLC (“AMOA”) filed an objection to the Sale on December 7,

 2022 [Doc. No. 182] (the “AMOA Objection”) asserting its belief that the Trustee could not sell

 one of the linear accelerators used by the Debtor until there was a judicial determination on whether

 the linear accelerator was subject to a lease or a financing. Though the Trustee disagrees with the

 positions taken by AMOA, the Trustee and AMOA engaged in discussions to resolve the issues

 presented in the AMOA Objection to facilitate the proposed Sale. As a result of these discussions,

 the objections raised by AMOA, particularly as they relate to the Sale and Sale Hearing, have been

 resolved as set forth more fully below through an agreement by the Trustee to escrow certain

 proceeds of the Sale.

                                     REQUEST FOR RELIEF

        21.     The Trustee requests, by and through this Response, that the Court approve the Sale

 of substantially all of the Debtor’s assets and approve the terms and conditions of the Asset

 Purchase Agreement in connection therewith and enter an order substantially in the form attached

 hereto as Exhibit 4 (the “Sale Order”).



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 A.     The Sale and Entry into the Asset Purchase Agreement is an Appropriate Exercise of
        the Debtor’s Business Judgment

        22.     Section 363(b)(1) of the Bankruptcy Code provides that a trustee, “after notice and

 a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

 estate.” 11 U.S.C. § 363(b)(1). Although section 363 of the Bankruptcy Code does not specify a

 standard for determining when it is appropriate for a court to authorize the use, sale or lease of

 property of the estate, courts have found that a trustee’s sale or use of assets outside the ordinary

 course of business should be approved if the trustee can demonstrate a sound business justification

 for the proposed transaction. See, e.g., In re Eagle Picher Holdings, Inc., 2005 Bankr. LEXIS

 2894, at ¶ 3 (Bankr. S.D. Ohio 2005); In re Martin, 91 F.3d 389, 395 (3d Cir. 1996). Once a trustee

 articulates a valid business justification, “[t]he business judgment rule ‘is a presumption that in

 making the business decision the directors of a corporation acted on an informed basis, in good

 faith and in the honest belief that the action was in the best interests of the company.’” In re S.N.A.

 Nut Co., 186 B.R. 98 (Bankr. N.D. Ill. 1995); see also In re Integrated Res., Inc., 147 B.R. 650,

 656 (Bankr. S.D.N.Y. 1992); In re Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y.

 1986) (“a presumption of reasonableness attaches to a Debtor’s management decisions”).

        23.     The sale of a debtor’s assets is appropriate where there are sound business reasons

 behind such a determination. See Martin, 91 F.3d at 395; see also Dai-Ichi Kangyo Bank, Ltd. v.

 Montgomery Ward Holding Corp., (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153

 (Bankr. D. Del. 1999).

        24.     Based upon the Trustee’s experience with the Debtor’s operations, including issues

 associated with employee retention and maintaining the Debtor as a going concern, the Trustee’s

 entry into the Asset Purchase Agreement (i) constitutes a sound and reasonable exercise of the


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 Trustee’s business judgment consistent with his fiduciary duties, (ii) provides value to and is

 beneficial to the Debtor’s estate and is in the best interest of the Debtor and its creditors, and (iii) is

 reasonable and appropriate under the circumstances.

         25.     The business justifications for the proposed Sale include, but are not limited to:

 (i) the Purchase Price set forth in the Asset Purchase Agreement constitutes the highest and best

 offer received for the Sale Assets; (ii) the Asset Purchase Agreement presents the best opportunity

 to maximize the value of the Sale Assets; (iii) the value of the Debtor’s estate will be maximized

 through the sale of the Sale Assets pursuant to the Asset Purchase Agreement; and (iv) the Sale

 Transaction provides the only viable path for the Debtor to continue providing uninterrupted and

 necessary medical services in Dublin, Georgia, and for the continued employment of the Debtor’s

 employees.

         26.     Moreover, the consideration to be provided by CancerCare under the Asset

 Purchase Agreement is fair and reasonable and constitutes (i) reasonably equivalent value under

 the Bankruptcy Code, (ii) reasonably equivalent value under Georgia’s Uniform Voidable

 Transactions Act, and (iii) reasonably equivalent value, fair consideration and fair value under any

 other applicable laws of the United States, any state, territory or possession or the District of

 Columbia.

 B.      The Court Should Approve the Assumption and Assignment of Executory Contracts
         and Unexpired Leases

         27.     Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a trustee in

 possession “subject to the court’s approval, may assume or reject any executory contract or

 [unexpired] lease of the debtor.” 11 U.S.C. § 365(a). Section 365(f) of the Bankruptcy Code

 provides that the “trustee may assign an executory contract . . . only if the trustee assumes such


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 contract . . . and adequate assurance of future performance is provided.” 11 U.S.C. § 365(f)(2).

 The meaning of “adequate assurance of future performance” depends on the facts and

 circumstances of each case, but should be given “practical, pragmatic construction.” See Carlisle

 Homes, Inc. v. Arrari (In re Carlisle Homes, Inc.), 103 B. R. 524, 538 (Bankr. D.N.J. 1989); see

 also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate assurance of

 future performance does not mean absolute assurance that debtor will thrive and pay rent). Among

 other things, adequate assurance may be given by demonstrating the assignee’s financial health

 and experience in managing the type of enterprise or property assigned. See In re Bygaph, Inc., 56

 B.R. 596, 605-06 (Bankr. S.D.N.Y. 1986)

        28.     The standard governing bankruptcy court approval of a trustee’s decision to assume

 or reject an executory contract or unexpired lease is whether the trustee’s reasonable business

 judgment supports assumption or rejection. See e.g., In re Stable Mews Assoc., Inc., 41 B.R. 594,

 596 (Bankr. S.D.N.Y. 1984). The business judgment test “requires only that the trustee

 demonstrate that [assumption or] rejection of the contract will benefit the estate.” Wheeling-

 Pittsburgh Steel Corp. v. West Penn Power Co. (In re Wheeling-Pittsburgh Steel Corp.), 72 B.R.

 845, 846 (Bankr. W.D. Pa. 1987) (quoting In re Stable Mews Assoc., 41 B.R. 594, 596 (Bankr.

 S.D.N.Y. 1984)). If the trustee’s business judgment has been reasonably exercised, a court should

 approve the assumption or rejection of an unexpired lease or executory contract. Sharon Steel

 Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 39-40 (3rd. Cir. 1989).

        29.     Here, non-Debtor to parties to Assigned Contracts have received adequate and

 sufficient notice of the Trustee’s intent to assume and assign the respective Assigned Contracts.

 All such parties have had a reasonable opportunity to object to both the Cure Costs and the



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 assumption in general. No parties have filed objections, except for AMOA (which is discussed

 below) and Radiation Business Solutions (“RBS”). [See Doc. No. 184]. RBS’s “objection” is not

 an objection to the Sale or assignment of its executory contract but rather is a reservation of rights

 for the purpose of ensuring and reserving its right to payment of any future amounts coming due

 under its contract. [See id.].

         30.     Consequently, the assumption and assignment of the Assigned Contracts is integral

 to the Asset Purchase Agreement, is in the best interests of the Debtor and its estate, and represents

 the valid and reasonable exercise of the Trustee’s sound business judgment.

 C.      The Court Should Approve the Sale Free and Clear of Liens and Encumbrances

         31.     Section 363(f) of the Bankruptcy Code permits a trustee to sell assets free and clear

 of all liens, claims, interests, charges and encumbrances (with any such liens, claims, interests,

 charges, and encumbrances attaching to the net proceeds of the sale with the same rights and

 priorities therein as in the sold assets). Section 363(f) of the Bankruptcy Code authorizes a trustee

 to sell assets free and clear of such interests in property if:

                     a. applicable nonbankruptcy law permits a sale of such property free and clear
                        of such interest;
                     b. such entity consents;
                     c. such interest is a lien and the price at which such property is to be sold is
                        greater than the value of all liens on such property;
                     d. such interest is in bona fide dispute; or
                     e. such entity could be compelled, in a legal or equitable proceeding, to accept
                        a money satisfaction of such interest.

 11 U.S.C. § 363(f).

         32.     Because section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

 satisfaction of any one of its five (5) requirements will suffice to permit the sale of the assets “free

 and clear” of interests. Mich. Emp’t Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio


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 Co.), 930 F.2d 1132, 1147 n.24 (6th Cir. 1991).

        33.     Here, the requirements of section 363(f) have been satisfied. First, all holders of

 claims referenced in section 363(f) who did not object to the Sale are deemed to have consented

 to the Trustee’s entry, on behalf of the Debtor, into the Asset Purchase Agreement.

        34.     The requirements of section 363(f) with respect to AMOA are also satisfied. First,

 the interest of AMOA is currently in bona fide dispute. Contemporaneously with the filing of this

 Response, the Trustee has filed an adversary proceeding against AMOA, seeking, among other

 things, the recharacterization of AMOA’s asserted claim that one of the Debtor’s linear

 accelerators is subject to a lease in its favor and contesting the asserted claim amount. Second,

 pursuant to the purported lease agreement between AMOA and the Debtor, AMOA has can be

 compelled to accept money satisfaction of its asserted interest as the agreement includes a purchase

 option. Moreover, the Purchase Price provided for in the Asset Purchase Agreement covers all

 asserted secured claims. Following the closing of the Sale, the Trustee shall hold proceeds in an

 amount sufficient to cover AMOA’s claim (as asserted by AMOA) and all other asserted secured

 claims pending resolution of the Trustee’s challenges (if any) to the same.

 D.     CureCancer is Entitled to the Protections of Section 363(m)

        35.      Pursuant to section 363(m) of the Bankruptcy Code, a good faith buyer is one who

 purchases assets for value, in good faith, and without notice of adverse claims. See In re Abbotts

 Dairies, 788 F.2d at 147; In re Mark Bell Furniture Warehouse, Inc., 992 F.2d 7, 9 (1st Cir. 1993).

 Specifically, section 363(m) provides:

                The reversal or modification on appeal of an authorization under
                [section 363(b)] ... does not affect the validity of a sale ... to an entity
                that purchased ... such property in good faith, whether or not such
                entity knew of the pendency of the appeal, unless such authorization


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                   and such sale ... were stayed pending appeal.

 11 U.S.C. § 363(m).

          36.      Here, in compliance with the Sale Procedures Order and Bidding Procedures, the

 Asset Purchase Agreement was negotiated at arms-length and in good faith.                                The Trustee

 represents that providing CancerCure with such protections is necessary for CancerCure’s entry

 into the Asset Purchase Agreement, for the yielding a maximum purchase price for the Sale Assets,

 and, ultimately, obtaining the highest and best result for the benefit of the Debtor’s estate and its

 stakeholders.

 E.       SOLIC Is Entitled to the Success Fee

          37.      Pursuant to the Engagement Letter between the Trustee and SOLIC, as approved

 by the Court through the SOLIC Order, SOLIC is entitled to a Success Fee in the amount of

 $241,329.89. 2

          38.      The Trustee requests the authority to pay this fee to SOLIC directly from the

 proceeds of the Sale at the time of the Sale’s closing.

 F.        Waiver of Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate

          39.      Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale or lease

 of property…is stayed until the expiration of 14 days after entry of the order, unless the court

 orders otherwise.” Fed. R. Bankr. 6004(h). Additionally, Bankruptcy Rule 6006(d) provides that

 an “order authorizing the trustee to assign an executory contract or unexpired lease…is stayed until

 the expiration of the 14 days after entry of the order, unless the court orders otherwise.” Fed. R.



 2 The Engagement Letter provides that, at the closing of the Sale, the Debtor will pay to SOLIC out of the proceeds
 of Sale a success fee equal to (i) $225,000, plus (ii) 3.0% of the sale value in excess of $5.0 million. See Exhibit 2 to
 the SOLIC Application.


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 Bankr. P. 6006(d).

         40.       Here, Time is of the essence as (i) the Debtor’s pending bankruptcy has caused

 apprehension within the Dublin community, referral sources and employees and (ii) the

 approaching holidays are threatening to impact the timing of closing (as banks and other

 institutions intend to close offices). Waiver of the 14-day stay imposed by Bankruptcy Rules

 6004(h) and 6006(d) will allow any Sale to close as soon as possible and, thus, prevent delay in

 the administration of these Chapter 11 Cases. Further, a waiver of the 14-day stay is necessary to

 comply with the milestones under the Asset Purchase Agreement. Accordingly, the Trustee

 requests that any Sale order be effective immediately upon entry by providing that the fourteen

 (14) day stays under Bankruptcy Rules 6004(h) and 6006(d) are waived.



                                          CONCLUSION

         WHEREFORE, the Trustee respectfully requests entry of an order, substantially in the

 form attached hereto (i) approving the Asset Purchase Agreement Among the Trustee, on behalf

 of the Debtor, and CancerCure, (ii) authorizing the sale of substantially all of the Debtor’s assets

 free and clear of liens, claims, interests, and encumbrances, (iii) authorizing the assumption and

 assignment of executory contracts and unexpired leases in connection therewith, (iv) finding

 CancerCare to be a good faith purchaser under section 363(m), (v) authorizing payment of the

 SOLIC Success Fee, (vi) waiving Bankruptcy Rules 6004(h) and 6006(d), and (vii) granting

 related relief.

  Dated: December 14, 2022                         Respectfully submitted,

                                                   /s/ David A. Wender
                                                   David A. Wender (Ga. Bar No. 748117)


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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


In re:                                              )     Chapter 11
                                                    )
CUREPOINT, LLC                                      )     Case No. 22-56501-PMB
                                                    )
         Debtor.                                    )
                                                    )
                                                    )
                                                    )

            DECLARATION OF SOLIC CAPITAL ADVISORS, LLC IN SUPPORT OF
                      CHAPTER 11 TRUSTEE’S SALE MOTION

            I, Gregory F. Hagood of SOLIC Capital Advisors, LLC and SOLIC Capital, LLC

  (collectively, the “Firm” or “SOLIC”), declare under penalty of perjury as follows:

            1.     I am a Senior Managing Director of the Firm and, in that capacity, I have personal

  knowledge of, and authority to speak on behalf of, the Firm with respect to the matters set out

  herein.

            2.     I submit this declaration (“Declaration”) in support of the Trustee’s (defined below)

  emergency motion seeking, among other things, the authority to conduct a sale of substantially all

  of the Debtor’s assets (the “Sale”), to solicit and accept bids in connection therewith, and for the

  approval of certain other procedures necessary to effectuate the Sale [see Doc. No. 124] (the “Sale

  Procedures Motion”).

            3.     Except as otherwise indicated, all statements in this Declaration are based on my

  personal knowledge, my review of relevant documents or my opinion based upon my experience

  and knowledge of the Debtor’s operations and financial condition. If I were called upon to testify,




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 I could and would testify to each of the facts set forth herein based on such personal knowledge,

 review of the documents, or opinion based thereon.

         4.      David A. Wender, in his capacity as the Chapter 11 Trustee (the “Trustee”) for the

 above-captioned debtor (the “Debtor”) in the above-styled case (the “Case”), retained SOLIC

 effective as of November 1, 2022.

         5.      SOLIC was retained to provide advisory services and lead the sale process

 contemplated in the Sale Procedures Motion.

         6.      As a part of this process, SOLIC commenced a marketing process (the “Marketing

 Process”) designed to identify potential acquirers and/or strategic partners and investors that could

 enable the Trustee to maximize value from the Debtor’s assets for the benefit of all stakeholders.

         7.      The Marketing Process was designed and was implemented to obtain the highest

 and best price for the Debtor’s assets.

         8.      As a part of the Marketing Process, SOLIC identified 35 potential partners likely

 to be interested in the Debtor or its assets - 19 strategic potential partners and 16 potential financial

 partners.

         9.      SOLIC prepared marketing materials describing the Debtor and created an

 electronic dataroom containing operational and financial due diligence material as well as

 information regarding bidding procedures to facilitate due diligence. All due diligence material

 was reviewed by the Trustee, Michael Miles, Phillip Miles, and Jamila Dadabhoy.

         10.     Commencing on November 1, 2022, and lasting through December 9, 2022, SOLIC

 solicited 35 potential acquirers. Nine (9) of these parties expressed preliminary interest and

 executed confidentiality agreements and requested access to the electronic dataroom to review due

 diligence material. Six (6) of the nine (9) parties who executed the confidentiality agreements,

 expressed further interest in the debtor and, as a result, SOLIC held due diligence calls with these

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 six (6) parties.

         11.        As a result of SOLIC’s solicitation efforts, SOLIC received offers from 2406

 CancerCare, LLC (“CancerCare”) to purchase substantially all of the Debtor’s assets.

         12.        CancerCare and the Trustee, with the assistance of SOLIC, engaged in multiple

 good faith negotiations between December 2, 2022 and December 11, 2022 to improve its offer.

         13.        Based on the Marketing Process, discussions had with potential purchasers, and

 negotiations with CancerCare, the Trustee and SOLIC ultimately concluded that the offer received

 from CancerCare represented the highest and best opportunity to maximize the value of the

 Debtor’s assets and, thereafter, actively negotiated the ultimate terms of a purchase and sale

 agreement.


 Dated: December 13, 2022




                                                By:    Gregory Hagood
                                                       Senior Managing Director,
                                                       SOLIC Capital Advisors, LLC




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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

     In re:                                                   Chapter 11

     CUREPOINT, LLC,                                          Case No. 22-56501- PMB

                             Debtor.



      ORDER (I) APPROVING ASSET PURCHASE AGREEMENT AMONG DEBTOR
    AND PURCHASER, (II) AUTHORIZING SALE OF SUBSTANTIALLY ALL OF
   DEBTOR’S ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND
   ENCUMBRANCES, (III) AUTHORIZING ASSUMPTION AND ASSIGNMENT OF
 CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN CONNECTION
            THEREWITH, AND (IV) GRANTING RELATED RELIEF

              Upon the motion (the “Sale Motion”), 1 dated November 7, 2022 [Doc. No. 124], Chapter

 11 Trustee (the “Trustee”) of the above-captioned debtor (the “Debtor”), pursuant to sections 105,

 363, and 365 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 6004,

 6006, 9006, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

 Rules”), for an order authorizing and approving the sale of the Sale Assets and the assumption and

 assignment of certain executory contracts and unexpired leases of the Debtor in connection

 therewith; and the Court having taken into consideration this Court’s prior order, dated November

 18, 2022 [Doc. No. 145] (the “Sale Procedures Order”), approving bidding procedures for the sale

 of the Sale Assets (the “Bidding Procedures”) and granting certain related relief; and 2406 Cancer

 Care, LLC, (the “Purchaser”), having submitted the highest and best bid for the Sale Assets and

 having thus been designated the Winning Bidder (as defined in the Bidding Procedures) for the

 Sale Assets; and this Court having conducted a hearing to consider the Sale Transaction (as defined


 1 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Asset
 Purchase Agreement (as defined below) or, if not defined in the Asset Purchase Agreement, the meanings given to
 them in the Sale Motion or Sale Procedures Order, as applicable.

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 below) on December 15, 2022 (the “Sale Hearing”), during which time all interested parties were

 offered an opportunity to be heard with respect to the Sale Transaction; and this Court having

 reviewed and considered (i) the Sale Motion and the exhibits thereto, (ii) the Asset Purchase

 Agreement, dated as of December 9, 2022 (together with exhibits and schedules thereto, as may

 be further amended, modified, supplemented and/or restated as provided therein) (the “Asset

 Purchase Agreement”) by and between the Trustee, on behalf of the Debtor, and Purchaser, a copy

 of which is attached hereto as Exhibit A, whereby the Trustee has agreed, among other things, to

 sell the Sale Assets to Purchaser, on the terms and conditions set forth in the Asset Purchase

 Agreement (the “Sale Transaction”), and (iii) the arguments of counsel made, and the evidence

 proffered and adduced, at the Sale Hearing; and due notice of the Sale Motion and the form of this

 Order (the “Proposed Sale Order”) having been provided; and all objections to the Sale Transaction

 and the Proposed Sale Order having been withdrawn, resolved, or overruled; and it appearing that

 the relief granted herein is in the best interests of the Debtor, its estate, creditors, and all parties in

 interest in this chapter 11 case; and upon the record of the Sale Hearing and this chapter 11 case;

 and after due deliberation and sufficient cause appearing therefor, it is hereby:

          FOUND AND DETERMINED THAT:
          A.     Fed. R. Bankr. P. 7052. The findings and conclusions set forth herein constitute

 this Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052, made

 applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following

 findings of fact constitute conclusions of law, they are adopted as such. To the extent any of the

 following conclusions of law constitute findings of fact, they are adopted as such.

          B.     Jurisdiction and Venue. This Court has jurisdiction to decide the Sale Motion and

 over the Sale Transaction pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core proceeding



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 pursuant to 28 U.S.C. § 157(b)(2). Venue of this chapter 11 case and the Sale Motion in this

 District is proper under 28 U.S.C. §§ 1408 and 1409.

          C.     Statutory and Rule Predicates. The statutory and other legal predicates for the relief

 granted herein are sections 105(a), 363, 365, and 541 of the Bankruptcy Code and Bankruptcy

 Rules 2002, 6004, 6006, 9007, and 9014.

          D.     Opportunity to Object. A fair and reasonable opportunity to object to, and be heard

 with respect to, the Sale Motion and the Sale Transaction has been given to all Persons entitled to

 notice pursuant to the Sale Procedures Order, including, but not limited to, the following: (i) all

 entities known or reasonably believed to have asserted any lien, claim, encumbrance, or other

 interest in the Sale Assets; (ii) all affected federal, state and local regulatory and taxing authorities;

 (iii) all parties known or reasonably believed to have expressed interest in the Sale Assets; (iv) all

 parties to the Assigned Contracts, and (v) all of the Debtor’s known creditors (for whom

 identifying information and addresses are available to, or reasonably attainable by, the Debtor

 and/or Trustee); and (vi) all parties that have requested notice in this chapter 11 case pursuant to

 Bankruptcy Rule 2002.

          E.     Final Order. This Order constitutes a final order within the meaning of 28 U.S.C.

 § 158(a).

          F.     Sound Business Purpose. The Trustee has demonstrated good, sufficient, and

 sound business purposes and justifications for approval of and entry into the Asset Purchase

 Agreement, and the other agreements, documents, and instruments deliverable thereunder, and

 approval of the Sale Transaction. The Trustee’s entry into and performance under the Asset

 Purchase Agreement (i) constitutes a sound and reasonable exercise of the Trustee’s business

 judgment consistent with his fiduciary duties, (ii) provides value to and are beneficial to the



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 Debtor’s estate, and is in the best interests of the Debtor and its creditors, and (iii) is reasonable

 and appropriate under the circumstances. Business justifications for the Sale Transaction include,

 but are not limited to, the following: (i) the Purchase Price set forth in the Asset Purchase

 Agreement constitutes the highest and best offer received for the Sale Assets; (ii) the Asset

 Purchase Agreement presents the best opportunity to maximize the value of the Sale Assets;

 (iii) the value of the Debtor’s estate will be maximized through the sale of the Sale Assets pursuant

 to the Asset Purchase Agreement; and (iv) the Sale Transaction provides the only viable path for

 the Debtor to continue providing necessary medical services in Dublin, Georgia, and for the

 Debtor’s employees to retain employment.

          G.    Compliance with Bidding Procedures Order. The Trustee and Purchaser complied

 with the Sale Procedures Order and the Bidding Procedures in all respects. Purchaser subjected

 its bid to the competitive Bidding Procedures approved by this Court and was designated the

 Winning Bidder for the Sale Assets by the Trustee in an exercise of his fiduciary duties and in

 accordance with the Sale Procedures Order and Bidding Procedures. The Bidding Procedures were

 substantively and procedurally fair to all parties and all potential bidders and afforded notice and

 a full, fair, and reasonable opportunity for any person to make a higher or otherwise better offer to

 purchase the Sale Assets.

          H.    Marketing Process. (i) The Trustee and his advisors, including his investment

 banker, SOLIC, engaged in a robust and extensive marketing and sale process pursuant to the Sale

 Procedures Order and Bidding Procedures, (ii) the Trustee conducted a fair and open sale process,

 (iii) the sale process and the Bidding Procedures were non-collusive, duly noticed, and provided a

 full, fair, and reasonable opportunity for any entity to make an offer to purchase the Sale Assets,

 and (iv) the process conducted by the Trustee pursuant to the Sale Procedures Order and the



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 Bidding Procedures obtained the highest or best value for the Sale Assets, and any other transaction

 would not have yielded as favorable an economic result for the Debtor and its estate with respect

 to the Sale Assets.

          I.    Fair Consideration; Highest or Best Value. The consideration to be provided by

 Purchaser under the Asset Purchase Agreement is fair and reasonable and constitutes (i) reasonably

 equivalent value under the Bankruptcy Code, (ii) reasonably equivalent value under Georgia’s

 Uniform Voidable Transactions Act, and (iii) reasonably equivalent value, fair consideration and

 fair value under any other applicable laws of the United States, any state, territory or possession

 or the District of Columbia. Such consideration constitutes the highest and best bid for the Sale

 Assets. No other person or entity, or group of persons or entities, has offered to purchase the Sale

 Assets for an amount that would provide greater value to the Debtor than Purchaser.

          J.    No Successor or Other Derivative Liability.           (i) Purchaser is not, and the

 consummation of the Sale Transaction will not render Purchaser, a mere continuation, and

 Purchaser is not holding itself out as a mere continuation, of the Debtor or its estate, enterprise, or

 operations, and there is no continuity or common identity between Purchaser and the Debtor;

 (ii) the Sale Transaction does not amount to a consolidation, merger, or de facto merger of

 Purchaser with or into the Debtor or its estate; and (iii) Purchaser is not, and shall not be deemed

 to be, a successor to the Debtor or its estate as a result of the consummation of the Sale Transaction.

          K.    Good Faith.     The Asset Purchase Agreement and the Sale Transaction were

 negotiated, proposed, and entered into by the Trustee and Purchaser in good faith, without

 collusion, and from arm’s-length bargaining positions. Purchaser is a “good faith purchaser”

 within the meaning of section 363(m) of the Bankruptcy Code and, as such, is entitled to all the

 protections afforded thereby. Effective upon the Closing, it shall be judicially determined that



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 neither the Trustee, Debtor, nor Purchaser have engaged in any conduct that would cause or permit

 the Asset Purchase Agreement to be avoided or costs and damages to be imposed under section

 363(n) of the Bankruptcy Code. Effective upon the Closing, it shall be judicially determined that

 neither Purchaser nor any of its members, partners, officers, directors, principals, or shareholders

 is an “insider” of any of the Debtor, as that term is defined in section 101 of the Bankruptcy Code

 and no common identity of incorporators, directors, or controlling stockholders exists between

 Purchaser and the Debtor. The Asset Purchase Agreement and any agreements, documents or

 other instruments entered into pursuant thereto or in connection therewith (collectively, the

 “Transaction Documents”) were not entered into, and the Sale Transaction is not being

 consummated for the purpose of hindering, delaying, or defrauding present or future creditors of

 the Debtor. All payments to be made by Purchaser in connection with the Sale Transaction have

 been disclosed. Neither the Trustee nor Purchaser is entering into the Transaction Documents, or

 proposing to consummate the Sale Transaction, fraudulently, for the purpose of statutory and

 common law fraudulent conveyance and fraudulent transfer claims whether under the Bankruptcy

 Code or under the laws of the United States, any state, territory, possession thereof, or the District

 of Colombia.

          L.    Notice. As evidenced by the certificates of service filed with this Court: (i) proper,

 timely, adequate, and sufficient notice of the Sale Motion, the bidding process (including the

 deadline for submitting bids and the Auction), the Sale Hearing, the Sale Transaction, and the

 Proposed Sale Order was provided by the Trustee; (ii) such notice was good, sufficient, and

 appropriate under the particular circumstances and complied with the Sale Procedures Order; and

 (iii) no other or further notice of the Sale Motion, the Sale Transaction, the Bidding Procedures,

 the Sale Hearing, or the Proposed Sale Order is required.



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          M.    Cure Notice. As evidenced by the certificates of service filed with this Court, and

 in accordance with the provisions of the Trustee has served notice of the Trustee’s intent for the

 Debtor to assume and assign the Assigned Contracts and of the related proposed cure amounts (the

 “Cure Costs”) upon each non-Debtor party to the Assigned Contracts (the “Cure Notice”). The

 service of the Cure Notice was timely, good, sufficient, and appropriate under the circumstances

 and no further notice need be given with respect to the Cure Costs for the assumption and

 assignment of the Assigned Contracts. All non-Debtor parties to the Assigned Contracts have had

 a reasonable opportunity to object both to the Cure Costs listed on the Cure Notice and to the

 assumption and assignment of the Assigned Contracts to Purchaser. No defaults exist in the

 Debtor’s performance under the Assigned Contracts as of the date of this Order other than the

 failure to pay the Cure Costs, as may be required, or such defaults that are not required to be cured.

          N.    Satisfaction of Section 363(f) Standards. The Trustee is authorized to sell the Sale

 Assets to Purchaser free and clear of all liens, claims (including those that constitute a “claim” as

 defined in section 101(5) of the Bankruptcy Code), property interests, rights, liabilities,

 encumbrances, and other interests of any kind or nature whatsoever against the Debtor or the Sale

 Assets, including, without limitation, any debts, claims, rights, causes of action, and/or suits arising

 under or out of, in connection with, or in any way relating to, any acts, omissions, obligations,

 demands, guaranties, rights, contractual commitments, restrictions, product liability claims,

 environmental liabilities, and/or claims for taxes of or against the Debtor and/or the Sale Assets,

 and any derivative, vicarious, transferee, or successor liability claims, rights, or causes of action

 (whether in law or in equity, under any law, statute, rule, or regulation of the United States, any

 state, territory, or possession thereof or the District of Columbia), whether arising prior or

 subsequent to the commencement of this chapter 11 case, whether secured or unsecured, senior or



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 subordinated, matured or unmatured, known or unknown, whether fixed or contingent, whether

 anticipated or unanticipated, whether yet accrued or not, and whether imposed by agreement,

 understanding, law, equity or otherwise arising under or out of, in connection with, or in any way

 related to the Debtor, the Debtor’s interests in the Sale Assets, the operation of the Debtor’s

 business before the Closing, or the transfer of the Debtor’s interests in the Sale Assets to Purchaser,

 all Excluded Assets, and all Excluded Liabilities (collectively, excluding any Assumed Liabilities,

 the “Claims”), because, in each case, one or more of the standards set forth in section 363(f)(1)-

 (5) of the Bankruptcy Code have been satisfied. Those holders of Claims who did not object (or

 who ultimately withdrew their objections, if any) to the Sale Transaction or the Sale Motion are

 deemed to have consented to the Debtor’s entry into the Sale Transaction pursuant to section

 363(f)(2) of the Bankruptcy Code. Those holders of Claims who did object that have an interest

 in the Sale Assets fall within one or more of the other subsections of section 363(f) of the

 Bankruptcy Code and are therefore adequately protected by having their Claims that constitute

 interests in the Sale Assets attach solely to the proceeds of the Sale Transaction ultimately

 attributable to the property in which they have an interest, in the same order of priority and with

 the same extent, validity, force, and effect that such holders had prior to the Sale Transaction,

 subject to any defenses of the Debtor. All Persons having Claims of any kind or nature whatsoever

 against the Debtor or the Sale Assets shall be forever barred, estopped, and permanently enjoined

 from pursuing or asserting such Claims against Purchaser, its Affiliates, successors, assigns, assets

 (including Sale Assets), and/or properties.

          O.    Purchaser would not have entered into the Asset Purchase Agreement and would

 not consummate the Sale Transaction, thus adversely affecting the Debtor and its estate and its

 creditors, if the sale of the Sale Assets was not free and clear of all Claims, or if Purchaser would,



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 or in the future could, be liable for any such Claims. A sale of the Sale Assets, other than one free

 and clear of all Claims, would yield substantially less value for the Debtor’s estate.

           P.   The total consideration to be provided under the Asset Purchase Agreement reflects

 Purchaser’s reliance on this Order to provide Purchaser, pursuant to sections 105(a) and 363(f) of

 the Bankruptcy Code, with title to and possession of the Sale Assets free and clear of all Claims.

           Q.   Assumption and Assignment of Assigned Contracts.                The assumption and

 assignment of the Assigned Contracts are integral to the Asset Purchase Agreement, are in the best

 interests of the Debtor and its estate, and represent the valid and reasonable exercise of the

 Trustee’s sound business judgment. Specifically, the assumption and assignment of the Assigned

 Contracts (i) is necessary to sell the Sale Assets to Purchaser, (ii) limit the losses suffered by non-

 Debtor parties to the Assigned Contracts, and (iii) maximize the recoveries to other creditors of

 the Debtor by limiting the amount of claims against the Debtor’s estate by avoiding the rejection

 of the Assigned Contracts.

           R.   With respect to each of the Assigned Contracts, the Trustee has met all

 requirements of section 365(b) of the Bankruptcy Code. Further, Purchaser has cured or will cure

 on or before the Closing any monetary default required to be cured with respect to the Assigned

 Contracts under section 365(b)(l) of the Bankruptcy Code and has provided adequate assurance of

 future performance under the Assigned Contracts in satisfaction of sections 365(b) and 365(f) of

 the Bankruptcy Code to the extent that any such assurance is required and not waived by the non-

 Debtor parties to such Assigned Contracts. Accordingly, the Assigned Contracts may be assumed

 by the Debtor and assigned to Purchaser as provided for in the Asset Purchase Agreement and

 herein.




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          S.    Validity of Transfer. As of the Closing, the transfer of the Sale Assets to Purchaser

 will be a legal, valid, and effective transfer of the Sale Assets, will vest Purchaser with all right,

 title, and interest of the Debtor in and to the Sale Assets, free and clear of all Claims. The

 consummation of the Sale Transaction is legal, valid, and properly authorized under all applicable

 provisions of the Bankruptcy Code, including, without limitation, sections 105(a), 363(b), 363(f),

 363(m), 365(b), and 365(f) of the Bankruptcy Code, and all of the applicable requirements of such

 sections have been complied with in respect of the Sale Transaction.

          T.    The Trustee, on behalf of the Debtor, (i) has full corporate power and authority to

 execute the Asset Purchase Agreement and all other documents contemplated thereby, and the Sale

 Transaction has been duly and validly authorized by all necessary action of the Debtor, (ii) has all

 of the power and authority necessary to consummate the Sale Transaction, and (iii) upon entry of

 this Order, other than any consents identified in the Asset Purchase Agreement (including with

 respect to antitrust matters), need no consent or approval from any other Person to consummate

 the Sale Transaction.

          U.    The Sale Assets constitute property of the Debtor’s estate, and good title to the

 Sale Assets is vested in the Debtor’s estate within the meaning of section 541(a) of the

 Bankruptcy Code.

          V.    The Asset Purchase Agreement is a valid and binding contract between the Trustee,

 acting on behalf of the Debtor, and Purchaser and shall be enforceable pursuant to its terms. The

 Asset Purchase Agreement was not entered into for the purpose of hindering, delaying, or

 defrauding creditors under the Bankruptcy Code or under laws of the United States, any state,

 territory, possession, or the District of Columbia. The Sale Transaction, and the consummation

 thereof, shall be specifically enforceable against and binding upon (without posting any bond) the



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 Debtor, and the Trustee, and shall not be subject to rejection or avoidance by the foregoing parties

 or any other Person.

          W.    Waiver of Bankruptcy Rules 6004(h) and 6006(d). The sale of the Sale Assets must

 be approved and consummated promptly in order to preserve the value of the Sale Assets.

 Therefore, time is of the essence in consummating the Sale Transaction, and the Trustee and

 Purchaser intend to close the Sale Transaction as soon as reasonably practicable, but by no later

 than December 30, 2022. The Trustee has demonstrated compelling circumstances and a good,

 sufficient, and sound business purpose and justification for the immediate approval and

 consummation of the Sale Transaction as contemplated by the Asset Purchase Agreement.

 Accordingly, there is sufficient cause to lift the stay contemplated by Bankruptcy Rules 6004(h)

 and 6006(d) with regard to the transactions contemplated by this Order.

          X.    Legal and Factual Bases. The legal and factual bases set forth in the Sale

 Motion and at the Sale Hearing establish just cause for the relief granted herein.

          NOW, THEREFORE, IT IS ORDERED THAT:

          1.    Motion is Granted. The Sale Motion and the relief requested therein is granted

 and approved as set forth herein.

          2.    Objections Overruled. All objections, if any, and any and all joinders thereto,

 to the Sale Motion or the relief requested therein that have not been withdrawn with prejudice,

 waived, or settled as announced to this Court at the Sale Hearing, by stipulation filed with this

 Court, or as provided in this Order, and all reservations of rights included therein, are hereby

 overruled on the merits and with prejudice.




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          3.   Notice.    Notice of the Sale Hearing was fair and equitable under the

 circumstances and complied in all respects with section 102(1) of the Bankruptcy Code and

 Bankruptcy Rules 2002, 6004, and 6006.

          4.   Fair Purchase Price. The consideration provided by Purchaser under the Asset

 Purchase Agreement is fair and reasonable and constitutes (i) reasonably equivalent value

 under the Bankruptcy Code, (ii) reasonably equivalent value under Georgia’s Uniform Voidable

 Transactions Act, and (iii) reasonably equivalent value, fair consideration and fair value

 under any other applicable laws of the United States, any state, territory or possession or

 the District of Columbia.

          5.   Approval of Asse t Purchase Agreement. The Sale Transaction documents

 (the “Transaction Documents”), and all of the terms and conditions thereof, are hereby

 approved in their entirety. The failure to specifically include any particular provision of the

 Transaction Documents in this Order shall not diminish or impair the effectiveness of such

 provision, it being the intent of this Court that the Transaction Documents, and the Debtor’s

 entry therein, be authorized and approved in their entirety. For the avoidance of doubt, the

 property identified in the Motion for Relief from the Automatic Stay filed by Arvest Bank

 [Doc. No. 57] and the Court’s order granting the same [Doc. No. 159] constitutes an Excluded

 Asset and is incorporated into the definition of Excluded Asset as set forth in the Asset

 Purchase Agreement.

          6.   Consummation of Sale Transaction. Pursuant to sections 105, 363, and

 365 of the Bankruptcy Code, the Trustee, on behalf of the Debtor, as well as its officers,

 employees, and agents, are authorized to execute, deliver, and perform their obligations

 under and comply with the terms of the Transaction Documents and to consummate the



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 Sale Transaction, including by taking any and all actions as may be reasonably necessary

 or desirable to implement the Sale Transaction and each of the transactions contemplated

 thereby pursuant to and in accordance with the terms and conditions of the Transaction

 Documents and this Order.          For the avoidance of doubt, all persons and entities are

 prohibited and enjoined from taking any action to adversely affect or interfere with the ability

 of the Debtor to transfer the Sale Assets to the Purchaser in accordance with the Transaction

 Documents and this Order.

          7.    The Trustee, on behalf of the Debtor, is authorized to execute and deliver, and

 authorized to perform under, consummate, and implement all additional instruments and

 documents that may be reasonably necessary or desirable to implement the Asset Purchase

 Agreement, including the transfer and, as applicable, the assignment of all the Sale Assets,

 and the assumption and assignment of the Assigned Contracts, and to take all further

 actions as may be (i) reasonably requested by Purchaser for the purpose of assigning, transferring,

 granting, conveying, and conferring to Purchaser, or reducing to Purchaser’s possession, the

 Sale Assets, and/or (ii) necessary or appropriate to the performance of the obligations

 contemplated by the Transaction Documents, all without further order of this Court.

          8.    All Persons that are currently in possession of some or all of the Sale Assets are

 hereby directed to surrender possession of such Sale Assets to Purchaser as of the Closing.

          9.    Each and every federal, state, local, or foreign government or governmental or

 regulatory authority, agency, board, bureau, commission, court, department, or other

 governmental entity is hereby directed to accept any and all documents and instruments

 necessary and appropriate to consummate the Sale Transaction.




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          10.   Transfer of Assets Free and Clear. Pursuant to sections 105(a), 363(b), 363(f),

 and 365 of the Bankruptcy Code, the Trustee, on behalf of the Debtor, is authorized,

 empowered, and directed to transfer the Sale Assets in accordance with the terms of the Asset

 Purchase Agreement and the terms of this Order.           The Sale Assets shall be transferred to

 Purchaser and, upon the Closing, such transfer shall: (i) be valid, legal, binding, and effective;

 (ii) vest Purchaser with all right, title, and interest of the Debtor in the Sale Assets; and (iii) be

 free and clear of all Claims in accordance with section 363(f) of the Bankruptcy Code, with any

 and all Claims that represent interests in property to attach to the net proceeds of the Sale

 Transaction, in the same amount and order of their priority, with the same extent, validity,

 force and effect which they have against the Sale Assets, and subject to any claims and

 defenses the Debtor may possess with respect thereto, in each case immediately before the

 Closing.

          11.   Notwithstanding clause (iii) of Paragraph 10 above, or any other contrary

 provision of this Order, upon Closing, subject to payment of (a) the transaction fee to SOLIC,

 set forth in paragraph 25 of this Order, all cash proceeds of the Sale Transaction shall be paid

 directly to the Trustee to be held in escrow and disbursed only as permitted and required under

 the Bankruptcy Code or as otherwise approved by separate order the Bankruptcy Court

 following notice and hearing.

          12.   Except as otherwise provided in the Asset Purchase Agreement, all Persons

 (and their respective successors and assigns) including, without limitation, the Debtor, the

 Debtor’s estate, all debt security holders, equity security holders, governmental tax and

 regulatory authorities, lenders, customers, vendors, employees, former employees, litigation

 claimants, trustees, trade creditors, and any other creditors who may or do hold Claims against



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 the Debtor, the Sale Assets, and/or the Debtor’s business, are hereby forever barred, estopped,

 and permanently enjoined from asserting or pursuing such Claims against Purchaser, its

 Affiliates, successors, assigns, assets (including the Sale Assets), and/or properties, including,

 without limitation, taking any of the following actions with respect to any Claims:

 (i) commencing or continuing in any manner any action, whether at law or in equity, in any

 judicial, administrative, arbitral, or any other proceeding, against Purchaser, its Affiliates,

 successors, assigns, assets (including the Sale Assets), and/or properties; (ii) enforcing,

 attaching, collecting, or recovering in any manner any judgment, award, decree, or order

 against Purchaser, its Affiliates, successors, assigns, assets (including the Sale Assets), and/or

 properties; (iii) creating, perfecting, or enforcing any Claim against Purchaser, its Affiliates,

 successors, assigns, assets (including the Sale Assets), and/or properties; (iv) asserting a

 Claim as a setoff, right of subrogation, or recoupment of any kind against any obligation due

 Purchaser or its successors or assigns; or (v) commencing or continuing any action in any

 manner or place that does not comply, or is inconsistent, with the provisions of this Order or

 the agreements or actions contemplated or taken in respect thereof. No such Person shall

 assert or pursue against the Purchaser, its Affiliates, successors, assigns, assets (including the

 Sale Assets), and/or properties any such Claim.

          13.   This Order (i) shall be effective as a determination that all Claims, have been

 unconditionally released, discharged and terminated as to the Purchaser and the Sale Assets

 (with such Claims attaching to the proceeds of sale in in the same amount and order of priority,

 with the same extent, validity, force and effect which they have against the Sale Assets), and

 that the conveyances and transfers described herein have been effected, and (ii) is and shall

 be binding upon and govern the acts of all Persons, including all filing agents, filing officers, title



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 agents, title companies, recorders of mortgages, recorders of deeds, registrars of deeds,

 administrative agencies, governmental departments, secretaries of state, federal, state, county and

 local officials and all other Persons who may be required by operation of law, the duties of their

 office, or contract, to accept, file, register or otherwise record or release any documents or

 instruments that reflect that the Purchaser is the assignee and owner of the Sale Assets free

 and clear of all Claims, or who may be required to report or insure any title or state of title in

 or to any lease (all such entities being referred to as “Recording Officers”). All Recording

 Officers are authorized to strike recorded encumbrances, claims, liens, and other interests

 against the Sale Assets recorded prior to the date of this Order. A certified copy of this Order

 may be filed with the appropriate Recording Officers to evidence cancellation of any recorded

 encumbrances, claims, liens, and other interests against the Sale Assets recorded prior to the

 date of this Order. All Recording Officers are hereby authorized to accept for filing any and

 all of the documents and instruments necessary and appropriate to consummate the Sale

 Transaction.

          14.   Following the Closing, no holder of any Claim shall interfere with Purchaser’s

 title to or use or enjoyment of the Sale Assets based on or related to any Claim or based on

 any actions or omissions by the Debtor, including any actions or omissions the Debtor may

 take in this chapter 11 case.

          15.   Except as expressly set forth in the Asset Purchase Agreement, Purchaser and

 each of its Affiliates, successors, assigns, members, partners, officers, directors, principals,

 and shareholders shall have no liability whatsoever for any Claims, whether known or

 unknown as of the Closing, now existing or hereafter arising, whether fixed or contingent,

 whether liquidated or unliquidated, whether asserted derivatively or vicariously, whether



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 asserted based on Purchaser’s status as a transferee, successor, or otherwise, of any kind,

 nature, or character whatsoever, including Claims based on, relating to, and/or arising under,

 without limitation: (i) the Debtor’s business operations or the cessation thereof; (ii) any

 litigation involving the Debtor; (iii) any antitrust laws; (iv) any product liability or similar

 laws, whether state, federal, or otherwise; (v) any bulk sales or similar laws; (vi) any federal,

 state, or local tax statutes, rules, regulations, or ordinances, including, without limitation, the

 Internal Revenue Code of 1986, as amended; and (vii) any common law doctrine of de facto

 merger, successor, transferee, or vicarious liability, substantial continuity liability, successor-

 in-interest liability theory, and/or any other theory of or related to successor liability.

          16.   If any Person that has filed financing statements, mortgages, mechanic’s liens,

 lis pendens, or other documents or agreements evidencing Claims against the Debtor or the

 Sale Assets shall not have delivered to the Debtor prior to the Closing, in proper form for

 filing and executed by the appropriate parties, termination statements, instruments of

 satisfaction, or releases of all interests which the Person has with respect to the Debtor or the

 Sale Assets, then with regard to the Sale Assets that are purchased by Purchaser pursuant to

 the Asset Purchase Agreement and this Order (i) the Trustee and the Purchaser are hereby

 authorized to execute and file such statements, instruments, or releases on behalf of the Person

 with respect to the Sale Assets, and (ii) Purchaser is hereby authorized to file, register, or

 otherwise record a certified copy of this Order, which, once filed, registered or otherwise

 recorded, shall constitute conclusive evidence of the release of all Claims against the Sale

 Assets; provided that, notwithstanding anything in this Order to the contrary, the provisions

 of this Order shall be self-executing, and neither the Seller nor Purchaser shall be required to

 execute or file releases, termination statements, assignments, consents, or other instruments



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 in order to effectuate, consummate, and implement the provisions of this Order, other than as

 required by the Asset Purchase Agreement. This Order is deemed to be in recordable form

 sufficient to be placed in the filing or recording system of each and every federal, state, or

 local government agency, department, or office.

          17.   On the Closing Date, this Order shall be considered and constitute for any and

 all purposes a full and complete general assignment, conveyance, and transfer of the Sale

 Assets acquired under the Asset Purchase Agreement or a bill of sale or assignment

 transferring good and marketable, indefeasible title and interest in all of the Sale Assets to the

 Purchaser.

          18.   To the maximum extent available under applicable law and to the extent

 provided for under the Asset Purchase Agreement, Purchaser shall be authorized, as of the

 Closing, to operate under any license, permit, registration, and governmental authorization or

 approval of the Debtor with respect to the Sale Assets and, to the maximum extent available

 under applicable law and to the extent provided for under the Asset Purchase Agreement, all

 such licenses, permits, registrations, and governmental authorizations and approvals are

 deemed to have been transferred to Purchaser as of the Closing.         All existing licenses or

 permits applicable to the business shall remain in place for the Purchaser’s benefit until either

 new licenses and permits are obtained, or existing licenses and permits are transferred in

 accordance with applicable administrative procedures.

          19.   No Successor or Other Derivative Liability.             By virtue of the Sale

 Transaction, neither Purchaser nor any of its Affiliates shall be deemed to: (i) be a legal

 successor, or otherwise deemed to be a successor, to the Debtor under any theory of law

 or equity; (ii) have, de facto or otherwise, merged with or into the Debtor or its estate;



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 (iii) have a common identity or a continuity of enterprise with the Debtor; or (iv) be a mere

 continuation or substantial continuation, or be holding itself out as a mere continuation, of the

 Debtor or any business, enterprise, or operation of the Debtor.        Upon the Closing, to the

 maximum extent available under applicable law, Purchaser’s acquisition of the Sale Assets

 shall be free and clear of any “successor liability” claims of any nature whatsoever, whether

 known or unknown and whether asserted or unasserted at the time of the Closing and the Sale

 Assets shall not be subject to any Claims arising under or in connection with any Excluded

 Asset or Excluded Liability.      The operations of Purchaser and its Affiliates shall not be

 deemed a continuation of the Debtor’s business as a result of the acquisition of the Sale

 Assets.

           20.   Assumption and Assignment of Assigned Contracts. The Trustee is hereby

 authorized in accordance with sections 105(a) and 365 of the Bankruptcy Code to cause the

 Debtor to assume and assign the Assigned Contracts to Purchaser free and clear of all Claims,

 and to execute and deliver to Purchaser such documents or other instruments as may be

 necessary to assign and transfer the Assigned Contracts to Purchaser as provided in the Asset

 Purchase Agreement. Upon the Closing, Purchaser shall be fully and irrevocably vested with

 all right, title, and interest of the Debtor in, to, and under the Assigned Contracts and, pursuant

 to section 365(k) of the Bankruptcy Code, the Debtor shall be relieved from any further

 liability with respect to the Assigned Contracts. Purchaser acknowledges and agrees that,

 from and after the Closing, it shall comply with the terms of each assumed and assigned

 contract in its entirety, including any indemnification obligations expressly contained in such

 Assigned Contract that could arise as a result of events or omissions that occur from and after

 the Closing.



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          21.   All Cure Costs that have not been waived shall be determined in accordance

 with the Sale Procedures Order or other applicable order of this Court and paid by Purchaser in

 accordance with the terms of the Asset Purchase Agreement.            Payment of the Cure Costs

 shall be in full satisfaction and cure of any and all defaults under the Assigned Contracts and

 deemed to fully satisfy the Debtor’s obligations under sections 365(b) and 365(f) of the

 Bankruptcy Code. Each non-Debtor party to the Assigned Contracts is forever barred, estopped,

 and permanently enjoined from asserting against the Debtor or against Purchaser, its Affiliates,

 successors, assigns, assets (including the Sale Assets), and/or properties, any default existing

 as of the date of the Sale Hearing if such default was not raised or asserted prior to or at the Sale

 Hearing. Purchaser has provided adequate assurance of future performance under the Assigned

 Contracts within the meaning of sections 365(b)(l)(c) and 365(f)(2)(B) of the Bankruptcy

 Code. Accordingly, all of the requirements of sections 365(b) and 365(f) of the Bankruptcy

 Code have been satisfied for the assumption by the Debtor, and the assignment by the Debtor

 to Purchaser, of each of the Assigned Contracts.

          22.   The Cure Cost has been and shall be deemed to be finally determined, and any

 such non-Debtor party shall be prohibited from challenging, objecting to, or denying the

 validity and finality of the Cure Cost at any time. Consistent with the Sale Procedures Order,

 the non-Debtor party to an Assigned Contract is forever bound by the applicable Cure Cost

 and, upon payment of such Cure Cost as provided herein and in the Asset Purchase

 Agreement, is hereby enjoined from taking any action against Purchaser with respect to any

 claim for cure under the Assigned Contract. To the extent no timely objections to adequate

 assurance or the cure amounts have been filed and served with respect to an Assigned




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 Contract, the non-Debtor party to such Assigned Contract is deemed to have consented to the

 assumption and assignment of the Assigned Contract to Purchaser.

          23.   Ipso Facto Clauses. Except as otherwise specifically provided for by order of

 this Court, the Assigned Contracts shall be transferred to, and remain in full force and effect

 for the benefit of, Purchaser in accordance with their respective terms, including all rights of

 Purchaser as the assignee of the Assigned Contracts, notwithstanding any provision in any such

 Assigned Contract (including, without limitation, those of the type described in sections

 365(e)(1) and (f) of the Bankruptcy Code) that prohibits, restricts, or conditions such

 assignment or transfer. There shall be no, and all non-Debtor parties to any Assigned Contract

 are forever barred and permanently enjoined from raising or asserting against the Debtor or

 Purchaser any defaults, breach, claim, pecuniary loss, rent accelerations, escalations, assignment

 fees, increases, or any other fees charged to Purchaser or the Debtor as a result of the

 assumption or assignment of the Assigned Contracts.

          24.   Except as otherwise specifically provided for by order of this Court, upon the

 Debtor’s assignment of the Assigned Contracts to Purchaser, no default shall exist under any

 Assigned Contracts, and no non-Debtor party to any Assigned Contracts shall be permitted

 to declare a default by any Debtor or Purchaser, or otherwise take action against Purchaser,

 as a result of any Debtor’s financial condition, bankruptcy, or failure to perform any of its

 obligations under the relevant Assigned Contracts. Any provision in an Assigned Contract

 that prohibits or conditions the assignment or sublease of such Assigned Contract

 (including, without limitation, the granting of a lien therein) or allows the non-Debtor

 party thereto to terminate, recapture, impose any penalty, condition on renewal or

 extension, or modify any term or condition upon such assignment or sublease, constitutes



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 an unenforceable anti-assignment provision that is void and of no force and effect.           The

 failure of the Debtor or Purchaser to enforce at any time one or more terms or conditions of

 any of the Assigned Contracts shall not be a waiver of such terms or conditions, or of the

 Debtor’s and Purchaser’s rights to enforce every term and condition of the Assigned

 Contracts.

          25.   Payment of Success Fee. Pursuant to the Order Approving Application of

 Chapter 11 Trustee to Retain Investment Banker Effective as of November 1, 2022, Subject to

 Objection [Doc. No. 146], the Success Fee of $241,329.89 to be paid to SOLIC shall be paid

 directly from the proceeds of the Sale at Closing.

          26.   Statutory Mootness. The Sale Transaction is undertaken by Purchaser in

 good faith, as that term is used in section 363(m) of the Bankruptcy Code and,

 accordingly, the reversal or modification on appeal of the authorization provided herein

 of the Sale Transaction shall neither affect the validity of the Sale Transaction nor the transfer

 of the Sale Assets to Purchaser free and clear of Claims, unless such authorization is duly stayed

 before the Closing pending such appeal.

          27.   No Avoidance of Asset Purchase Agreement. Neither the Trustee, on behalf of

 the Debtor, nor Purchaser has engaged in any conduct that would cause or permit the Asset

 Purchase Agreement to be avoided or costs and damages to be imposed under section 363(n)

 of the Bankruptcy Code.     Accordingly, the Transaction Documents and the Sale Transaction

 shall not be avoidable under section 363(n) of the Bankruptcy Code, and no party shall be

 entitled to any damages or other recovery pursuant to section 363(n) of the Bankruptcy Code in

 respect of the Transaction Documents or the Sale Transaction.




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          28.   Waiver of Bankruptcy Rules 6004(h) and 6006(d). Notwithstanding the

 provisions of Bankruptcy Rules 6004(h) and 6006(d) or any applicable provisions of the Local

 Rules, this Order shall not be stayed after the entry hereof, but shall be effective and enforceable

 immediately upon entry, and the 14-day stay provided in Bankruptcy Rules 6004(h) and

 6006(d) is hereby expressly waived and shall not apply.      Time is of the essence in closing the

 Sale Transaction, and the Trustee, on behalf of the Debtor, and Purchaser intend to close the Sale

 Transaction as soon as practicable. Any party objecting to this Order must exercise due diligence

 in filing an appeal and pursuing a stay within the time prescribed by law and prior to the

 Closing, or risk its appeal being foreclosed as moot.

          29.   Allowance of Claims Affecting Purchaser. The Trustee, on behalf of the

 Debtor, shall not consent or agree to the allowance of any claim to the extent that it would

 constitute an Assumed Liability without the prior written consent of Purchaser. Purchaser

 shall have standing in this chapter 11 case to object to the validity, amount, or priority of any

 claim against the Debtor to the extent it would otherwise constitute an Assumed Liability, and

 this Court will retain the right to hear and determine such objections.       Purchaser shall pay

 or otherwise satisfy the Assumed Liabilities on or before the later of: (i) the date on which

 such liability becomes due and owing to the holder of same in the ordinary course of

 business; and (ii) the date on which the Purchaser and the holder agree such liability is to be

 satisfied.

          30.   Exculpation and Release of Purchaser.                  Except with respect to

 Purchaser’s obligations under this Order or the Transaction Documents, effective upon

 the Closing, and to the maximum extent available under applicable law, neither Purchaser

 nor any of its Affiliates, successors, assigns, members, partners, officers, directors,



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 principals, shareholders, advisors, or representatives shall have or incur any liability to,

 or be subject to any action by, the Debtor, its estate, or any of its predecessors, successors

 or assigns, arising from, based on, or related in any way to the negotiation, documentation,

 or due diligence in respect of, performance, or consummation of the Transaction

 Documents, the Debtor, its estate, and the conduct of its business prior to closing, and the

 entry into and consummation of the Sale Transaction.

          31.   Binding Effect of this Order. The terms and provisions of the Asset

 Purchase Agreement and this Order shall be binding in all respects upon, or shall inure to

 the benefit of, the Debtor, its estate and its creditors, Purchaser and its Affiliates,

 successors, and assigns, and any affected third parties, including all Persons asserting

 Claims, notwithstanding any subsequent appointment of any trustee, examiner, or

 receiver under any chapter of the Bankruptcy Code or any other law, and all such

 provisions and terms shall likewise be binding on such trustee, examiner, or receiver and

 shall not be subject to rejection or avoidance by the Debtor, its estate, its creditors or any

 trustee, examiner, or receiver. The Trustee shall be authorized and directed to (i) operate

 the business of the Debtor to the fullest extent necessary to permit compliance with the

 terms of the Transaction Documents, and (ii) perform under the Transaction Documents

 without the need for further order of this Court.

          32.   Reservation    of   Rights    Regarding    U.S.   Government      Agreements.

 Notwithstanding any provision to the contrary in the Sale Motion, this Order, and any

 implementing Sale documents, nothing in the Sale Motion, this Order, and any

 implementing Sale documents shall: (1) authorize or effectuate the assumption, sale,

 assignment or other transfer to the Purchaser of any grants, grant funds, contracts,



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 property, receivables, leases or agreements of or with the federal government,

 (collectively, “Federal Interests”); (2) be interpreted to set cure amounts or to require the

 government to novate, approve or otherwise consent to the assumption, sale, assignment

 or other transfer of any Federal Interests; (3) subject to Section 553 of the Bankruptcy

 Code, affect the government’s rights, if any, to offset or recoup any amounts due under,

 or relating to, the Federal Interests; (4) waive any obligation of the Debtor or any

 Purchaser or any other entity to comply with applicable legal requirements and approvals

 under any police or regulatory laws governing the transfer or assignment of, or

 compliance with, any governmental (a) license, (b) permit, (c) registration, (d)

 authorization, or (e) approval; (5) releases, nullifies, precludes or enjoins the enforcement

 of any police or regulatory liability to a governmental unit that any entity may be subject

 to as the post-sale owner or operator of property after the date of entry of this Order; or

 (6) confer exclusive jurisdiction to the Bankruptcy Court with respect to the Federal

 Interests, except to the extent set forth in 28 U.S.C. Section 1334 (as limited by any other

 provisions of the United States Code).

          33.   Conflicts; Precedence. In the event that there is a direct conflict between

 the terms of this Order and the terms of (i) the Asset Purchase Agreement, or (ii) any other

 order of this Court, the terms of this Order shall control. Nothing contained in any chapter

 11 plan hereinafter confirmed in these chapter 11 cases, or any order confirming such

 plan, shall conflict with or derogate from the provisions of the Asset Purchase Agreement

 or the terms of this Order, and, to the extent that there is any conflict among them, the

 terms of the Asset Purchase Agreement and/or this Order, as applicable, shall control.




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          34.    Modification of Asset Purchase Agreement. Subject to the terms therein,

 the Transaction Documents may be modified, amended, or supplemented by the parties

 thereto, in a     writing signed by the party against whom enforcement of any such

 modification, amendment, or supplement is sought, and in accordance with the terms

 thereof, without further order of this Court; provided that notwithstanding any such

 modification, amendment, or supplement, the sale of the Sale Assets to Purchaser will still

 comply with the requirements of section 363 of the Bankruptcy Code.

          35.    Bulk Sales. No bulk sales law, bulk transfer law, or similar law of any state

 or other jurisdiction shall apply in any way to the Sale Transaction.

          36.    Automatic Stay. Purchaser shall not be required to seek or obtain relief from

 the automatic stay under section 362 of the Bankruptcy Code to enforce any of its

 remedies under the Transaction Documents or any other sale-related document.             The

 automatic stay imposed by section 362 of the Bankruptcy Code is modified solely to the extent

 necessary to implement the provisions of this Order.

          37.    Provisions Non-Severable. The provisions of this Order are nonseverable and

 mutually dependent.

          38.    Retention of Jurisdiction. This Court shall retain exclusive jurisdiction to,

 among other things, (i) interpret, enforce, and implement the terms and provisions of this

 Order and the Asset Purchase Agreement (including all amendments thereto, any waivers and

 consents thereunder, and of each of the agreements executed in connection therewith), and

 (ii) adjudicate disputes related to this Order and the Transaction Documents (including all

 amendments thereto, and any waivers and consents thereunder).

          Dated: December [●], 2022



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                                      Respectfully submitted,

                                       /s/ David A. Wender
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